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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                                    )
 In re:                                             )        Chapter 11
                                                    )
 FRANCHISE GROUP, INC., et al.,                     )        Case No. 24-12480 (LSS)
                                                    )
                         Debtors.                   )        (Jointly Administered)
                                                    )

                     ORDER SCHEDULING OMNIBUS HEARING DATE

          Pursuant to Rule 2002-1(a) of the Local Rules of the United States Bankruptcy Court for

the District of Delaware, the United States Bankruptcy Court for the District of Delaware hereby

schedules the following omnibus hearing date:


                      May 6, 2025, at 11:30 a.m. (prevailing Eastern Time)




      Dated: March 26th, 2025                       LAURIE SELBER SILVERSTEIN
      Wilmington, Delaware                          UNITED STATES BANKRUPTCY JUDGE
